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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

AYLETTE ROPER,                                    *
                                                  *
                        Plaintiff,                *
vs.                                               *           No. 4:14-cv-00729-SWW
                                                  *
                                                  *
PORTFOLIO RECOVERY                                *
ASSOCIATES, LLC, and LORI                         *
WITHROW, individually and d/b/a                   *
ALLEN & WITHROW, ATTORNEYS                        *
AT LAW, and d/b/a LAW OFFICES                     *
OF ALLEN & WITHROW,                               *
                                                  *
                        Defendants.               *

                                              ORDER

       The unopposed motion [doc.#34] of plaintiff Aylette Roper to dismiss this action

with prejudice is hereby granted.1


                       IT IS SO ORDERED this 11th day of March 2016.

                                       /s/Susan Webber Wright
                                       UNITED STATES DISTRICT JUDGE




       1
         At the request of the parties, the Court will retain jurisdiction only to resolve any issues
with the settlement until March 30, 2016.
